Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 1 of 16 Page ID #:5




         EXHIBIT A
Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 2 of 16 Page ID #:6




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       7     Attorneys.fpr Pl.aintiff,
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Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 3 of 16 Page ID #:7




      1          Plaintiff, VITO SANCHEZ ("Plaintiff'), on behalf of Plaintiff and on behalf of all others

     2    similarly situated, hereby files this Complaint against Defendant TRANSFORCE, INC., a
     3    Delaware corporation; and DOES 1-50 (collectively, "Defendant"). Plaintiff is informed arid

     4    believes and thereon alleges as follows:
     5                                           INTRODUCTION

     6           l.      This class action arises from Defendant' s acquisition and use of consumer and/or

     7    investigative consumer reports (referred to as "background reports") to conduct background

      8   checks on Plaintiff and other prospective, current, and former employees.

      9          2.      Plaintiff, individually and on behalf of all other members of the public similarly

     10   situated, seeks compensatory and punitive damages due to Defendant's systematic and willful

     11   violation of, inter alia, the Fair Credit Reporting Act ("FCRA"), 15 U.S.C. §§ 1681, et seq. and

     12   the Investigative Consumer Reporting Agencies Act ("ICRAA''), Cal. Civ. Code§§ 1786, et seq.

     13          3.      Plaintiff alleges that Defendant routinely acquired and continues to acquire

     14   background reports to conduct background checks on Plaintiff and other prospective, current, and

     15   former employees and use information from background reports in connection with their hiring

     16   process w ithout providing proper disclosures and obtaining proper authorization in compliance

     17   with the FCRA and ICRAA.

     18          4.      The procurement of background reports for employment purposes is subject to

     19   strict disclosure requirements under federal law pursuant to the FCRA and under California law

     20   pursuant to the ICRAA. Among other things, an employer may not procure a background report

     21   concerning a job applicant unless 1) a "clear and conspicuous" disclosure is made in a stand-alone

     22   document that "consists solely of the disclosure" informing the applicant that a report may be

     23   obtained for employment purposes and clearly setting forth the nature and scope of the consumer

     24   report; 2) a summary of the applicant's rights with regard to the consumer report is provided to
     25   the applicant; and 3) provides the applicant with accurate and legally compliant information and

     26   disclosures with regard to its investigative consumer report.
     27          5.      Defendant failed to follow these strict disclosure and procedural requirements and,

     28   as a result, Defendant has violated Plaintiff's and putative class members' statutory rights under
                                                           2
                                             CLASS ACTION COJ\,:IPLAINT




                                                                                EXHIBIT A, PAGE 5
Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 4 of 16 Page ID #:8




      1   the FCRA and ICRAA.
      2                                               PARTIES

      3          6.      Plaintiff VITO SANCHEZ is, and at all relevant times was, an individual and
      4   natural person domiciled in the State of California and a citizen of the State of California who
      5   worked for Defendant.
      6          7.      Defendant TRANSFORCE, INC. is a Delaware corporation, authorized to do
      7   business in California and is doing business · in the State of California. Defendant
      8   TRANSFORCE, INC. is a national truck driver staffing firm.

      9          8.      Plaintiff is unaware of the true names of Defendants DOES 1 through 50. Plaintiff
     10   sues said defendants by said fictitious names and will amend this complaint when the true names
     11   and capacities are ascertained or when such facts pertaining to liability are ascertained, or as
     12   permitted by law or by the Court. Plaintiff is informed and believes that each of the fictitiously
     13   named Defendants is in some manner responsible for the events and allegations set forth in this

     14   complaint.
     15          9.      Plaintiff is informed, believes, and thereon alleges that at all relevant times, each
     16   defendant was an employer, was the principal, agent, partner, joint venturer, officer, director,
     17   controlling shareholder, subsidiary, affiliate, parent corporation, successor in interest and/or
     18   predecessor in interest of some or all of the other Defendants, and was engaged with some or all
     19   of the other defendants in a joint enterprise for profit, and bore such other relationships to some or
     20   all of the other defendants so as to be liable for their conduct with respect to the matters alleged in
     21   this complaint. Plaintiff is further informed and believes and thereon alleges that each defendant
     22   acted pursuant to and within the scope of the relationships alleged above, and that at all relevant
     23   times, each defendant knew or should have known about, authorized, ratified, adopted, approved,
     24   controlled, aided and abetted the conduct of all other defendants. As used in this complaint,
     25   "Defendant" means "Defendants and each of them," and refers to the Defendants named in the
     26   particular cause of action in which the word appears and includes TRANSFORCE, INC. and
     27   DOES 1 to 50, inclusive.
     28           I 0.   At all times mentioned herein, each Defendant was the co-conspirator, agent,
                                                           3
                                              CLASS ACTION COMPLAINT




                                                                                   EXHIBIT A, PAGE 6
Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 5 of 16 Page ID #:9




      1   servant, employee, and/or joint venture of each of the other defendants and was acting within the
     2    course and scope of said conspiracy, agency, employment, and/or joint venture and with the
     3    permission and consent of each of the other Defendants.
     4                    Plaintiff makes the allegations in this complaint without any admission that, as to

      5   any ·particular allegation, Plaintiff bears the burden of pleading, proving, or persuading and
      6   Plaintiff reserves all of Plaintiff's rights to plead in the alternative.

     7                                       JURISDICTION AND VENUE

      8           12.     This Court has jurisdiction over Plaintiff's and the Class Members' (the "Class

      9   Members" defined below) claims for FCRA and ICRAA violations for the following reasons

     10   upon information and belief: Defendant, at all relevant times, was duly licensed to conduct
     11   business in the State of California; and DOES 1-50, inclusive, (collectively ''Defendant") operate
     12   throughout California; Defendant employed Plaintiff in San Bernardino County in the State of
     13   California; the principal violations of California law occurred in San Bernardino County; the

     14   conduct of Defendant forms a significant basis for Plaintiff's and the Class Members' claims; and
     15   Plaintiff and the Class Members seek significant relief from Defendant.

     16           13.     Venue is proper in the County of San Bernardino pursuant to Code of Civil

     17   Procedure sections 395(a) and 395.5 in that liability arose in this county because at least some of
     18   the transactions that are the subject matter of this Complaint occurred therein.
     19                               FACTUAL AND LEGAL ALLEGATIONS

     20           14.     Plaintiff applied for a job with Defendant and worked for Defendant from in or

     21   about June 2021 until in or about August 2021 .

     22           15.     In evaluating Plaintiff for employment, Defendant procured or caused to be

     23   prepared a background report (i.e., a consumer report and/or investigative consumer report, as
     24   defined by 15 U.S.C. § 1681a(d)(l)(B) and 15 U.S .C. § 168la(e), a consumer credit report, as
     25   defined by Cal. Civ. Code § l 785 .3(c), and an investigative consumer report, as defined by Cal.

     26   Civ. Code§ 1786.2(c).
     27           16.     In connection with Plaintiff's employment application, Plaintiff completed
     28   Defendant's standard application materials, which, on information and belief are used regularly
                                                               4
                                                CLASS ACTION COMPLAINT




                                                                                      EX HIBIT A, PAGE 7
Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 6 of 16 Page ID #:10




      1     by Defendant for all job applicants during the relevant period in connection with its employment
      2     policies, procedures, and/or practices.

      3            17.     As part of Plaintiff's application, Defendant purported to inform Plaintiff and the
      4     Class Members that a background check would be obtained and included in the application
      5     materials a copy of documents purporting to give Defendant authorization to perform a

      6     background check.

      7            18.     This purported disclosure and authorization contains extraneous information which

      8     is irrelevant to Defendant's disclosure of its intent to obtain a background report and also
      9     describes information that does not constitute a consumer report or investigative consumer report.

     10     Moreover, Defendant did not provide a stand-alone authorization as required by applicable law
     11     and fai led to adhere to the strict consumer report disclosure and procedural requirements pursuant

     12     to the FCRA and JCRAA.
     13                                          CLASS ALLEGATIONS

     14             19.    Plaintiff brings this lawsuit on behalf of Plaintiff and all others similarly situated
     15     as a class action pursuant to Code of Civil Procedure section 382. The class Plaintiff seeks to

     16     represent is defined as follows based on the following subclasses and referred to collectively as
     17 ·   the "Class Members":

     18                    A.      FCRA Class:         All of Defendant's current, former and prospective

     19     applicants for employment in the United States who applied for a job with Defendant at any time

     20     during the period beginning five years prior to the filing of this action and ending on the· date that

     21     final judgment is entered into in this action.

     22                    B.      ICRAA Class:        All of Defendant's current, former, and prospective

     23     applicants for employment in California, at any time during the period beginning five years prior
     24     to the filing of this action and ending on the date that final judgment is entered into in this action.

     25             20.    Numerosity: The Class Members are so numerous that the individual joinder of

     26     each individual class member is impractical.
     27             2 1.   Commonality and Predominance: Common questions of law and fact exist as to

     28     all class members and predominate over any questions which affect only individual class
                                                      5
                                                 CLASS ACTION COMPLAINT




                                                                                      EXHIBIT A, PAGE 8
Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 7 of 16 Page ID #:11




      1    members. These include, but are not limited to:

      2                      A.     Whether Defendant willfully failed to provide the Class Members with

      3                             stand-alone written disclosures before obtaining a creditor background

      4                             report in compliance with the statutory mandates;

      5                      B.     \Vhether Defendant willfully included extraneous information, including,

      6                             release of liability disclosures and medical information release disclosures

      7                             regarding drug and alcohol and medical testing in its Notification and

      8                             Release to Conduct Background Checks;

      9                      C.     Whether Defendant willfully failed to provide a summary of rights with

     10                             regard to its investigative consumer report pursuant to its obligations under

     11                             theFCRA;

     12                      D.     Whether Defendant willfully failed to include accurate and legally required

     13                             information and disclosures with regard to its investigative consumer

     14                             report;

     15                      E.     Whether Defendant willfully failed to comply with the FCRA and/or the

     16                             ICRAA.
     17           22.        Typicalitv:   Plaintiff's claims are typical of the other class members' claims.

     18    Plaintiff is informed and believes and thereon alleges that Defendant has a policy, practice or a

      19   lack of a policy that resulted in Defendant failing to comply with the FCRA and ICRAA as

     20    alleged herein.

     21           23.        Adequacy of Class Representative: Plaintiff is an adequate class representative

     22    in that Plaintiff has no interests that are adverse to, or otherwise in conflict with, the interests of

     23    absent class members. Plaintiff is dedicated to vigorously prosecuting this action on behalf of

     24    class members. Plaintiff will fairly and adequately represent and protect the interests oftbe Class

     25    Members.

     26           24.        Adequacy of Class Counsel: Plaintiffs counsel are adequate class counsel in that
     27    they have no known conflicts of interest with Plaintiff or absent class members, are experienced

     28    in class action litigation and are dedicated to vigorously prosecuting this action on behalf of
                                                              6
                                                CLASS ACTION COMPLAINT




                                                                                    EXHIBIT A, PAGE 9
Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 8 of 16 Page ID #:12




      1   Plaintiff and absent class members.

      2          25.      Superiority: A class action is vastly superior to other available means for fair and

      3   efficient adjudication of class members' claims and would be beneficial to the parties and the

      4   Court. Class action treatment will allow a number of similarly situated persons to simultaneously

      5   and efficiently prosecute their common claims in a single forum without the unnecessary

      6   duplication of effort of effort and expense that numerous individual actions would entail. In

      7   addition, the monetary amounts due to many individual class members are likely to be relatively

      8   small and would thus make it difficult, if not impossible, for individual class members to both

      9   seek and obtain relief. Moreover, a class action will serve an important public interest by

     10   permitting class members to effectively pursue the recovery of monies owed to them. Further, a

     11   class action will prevent the potential for inconsistent or contradictory judgments inherent in

     12   individual litigation.

     13                                     FIRST CAUSE OF ACTION

     14                                     VIOLATION OF THE FCRA
     15                                       (15 U.S.C. §§ 1681, et seq.)

     16                                         (Against all Defendants)

     17           26.     Plaintiff incorporates by reference all the allegations contained in this Complaint

     18   as if fully alleged herein.

     19           27.     Defendant is a "person" as defined by § 1681 a(b) of the FCRA.

     20           28.     Plaintiff and the FCRA Class are " consumers" within the meaning of§ 168la(c)

     21   of the FCRA, because they are "individuals."

     22           29.     Section I 681 b(b )(2)(A)(i) mandates that .a clear and conspicuous disclosure be

     23   made in writing.

     24           30.     Plaintiff alleges based on information and belief that in evaluating Plaintiff and the

     25   FCRA Class for employment, Defendant procured or caused to be prepared background reports

     26   (i.e., a consumer report and/or investigative consumer report, as defined by 15 U .S.C. §

     27   168la(d)(l)(B) and 15 U.S.C.    § 168l(a)).
     28           31 .    The purported disclosures provided to Plaintiff and the FCRA Class prior to
                                                           7
                                                CLASS ACTION COMPLAINT




                                                                                 EXHIBIT A, PAGE 10
Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 9 of 16 Page ID #:13




      1   obtaining background reports do not meet the requirements under the law because they are not

      2   clear and conspicuous disclosures in a stand-alone document and are embedded with extraneous

      3   information, including, but not limited to, medical information release disclosures regarding drug

      4   and alcohol testing and medical testing waiver and release of liability disclosures and waiver of

      5   liability. See, Syed v. M-1, LLC, 846 F.3d 1034 (9th Cir. 2017) and Gilberg v. Cal. Check

      6   Cashing Stores, LLC, 913 F.3d 1169 (9th Cir. 2019).
      7           32.    Under the FCRA, it is unlawful to procure or cause to be procured, a consumer

      8   report or investigative consumer report for employment purposes unless the disclosure is made in

      9   a stand-alone document that consists solely of the disclosure and the consumer has authorized, in

     10   writing, the procurement of the report. 15 U.S.C. § 168lb(b)(2)(A)(i)-(ii). The inclusion of

     11   liability release and other extraneous information, therefore, violates § 1681 b(b)(2)(A) of the

     12   FCRA.

     13           33 . Section 168ld(a)(l) of the FCRAprovides:
                       A person may not procure or cause to be prepared an investigative consumer report
     14   on any consumer unless:
     15                  (1) it is clearly and accurately disclosed to the consumer that an investigative
                             consumer report including information as to his character, general reputation,
     16                      personal characteristics, and mode of living , whichever are applicable, may be
                             made, and such disclosure; (Emphasis Added.)
     17
                         (2) is made in a writing mailed, or otherwise delivered, to the consumer, not later
     18                      than three days after the date on which the report was first requested, and
     19                  (3) includes a statement infonning the consumer of his right to request the
                             additional disclosures provided for under subsection (b) of this section and the
     20                      written summa1y of the rights of the consumer prepared pursuant to §
                             1681g(c) of this title; (Emphasis Added.)
     21
                         (4) Subsection (b) of Section 168ld(a)(l) provides:
     22
                            Any person who procures or causes to be prepared an investigative consumer
     23                     report on any consumer shall, upon written request made by the consumer
                            within a reasonable period of time after the receipt by him of the disclosure
     24                     required by subsection (a)(l) of this section (a)(l) of this section, make a
                            complete and accurate disclosure of the nature and scope of the investigation
     25                     requested. This disclosure shall be made in a writing mailed, or otherwise
                            delivered, to the consumer not later than five days after the date on which the
     26                     request for such disclosure was received from the consumer or such report was
                            first requested, whichever is the later.
     27
                  34.    Defendant did not comply with Section 168ld(a)(l ) because Defendant fai led to
     28
                                                          8
                                             CLASS ACTION COi\1PLA.INT




                                                                               EX HI BIT A, PAG E 11
Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 10 of 16 Page ID #:14




       1   disclose that its investigative consumer report may include investigation into "mode of living,"

      2    and Defendant further failed to provide Plaintiff and the FCRA Class with a written summary of

      3    rights pursuant to§ 168lg(c).

      4           35.    Section 1681 g( c) provides for a summary of rights to obtain and dispute

      5    information in consumer reports and to obtain credit scores as:

      6    (1)    Commission summary of rights requires:
      7           (A)    The Commission shaJI prepare a model summary of tire rights of consumers under
                         this subchapter.
       8
                  (B)    Content of summary:
       9
           The summary ofrights prepared under subparagraph (A) shall include a description of -
      10
                         (i)            the right of a consumer to obtain a copy of a consumer report under
      11                         subsection (a) of this sectioQ. from each consumer reporting agency;
      12                 (ii)            the frequency and circumstances under which a consumer is entitled
                                 to receive a consumer report without charge under subsection 168 lj of this
      13                         title;
      14                 (iii)         the right of a consumer to dispute information in the file of the
                                 consumer under subsection 168l i of this title;
      15
                          (iv)           the right of a consumer to obtain a credit score from a consumer
      16                         reporting agency, and a description of how to obtain a credit score;
      17                  (v)           the method by which a consumer can contact, and obtain a
                                 consumer report from, a consumer reporting agency without charge, as
      18                         provided in the regulations of the Bureau prescribed under § 211 (c) of the
                                 Fair and Accurate Credit Transactions Act of2003; and
      19
                          (vi)          the method by which a consumer can contact, and o btain a
      20                         consumer report from, a consumer reporting agency described in §
                                 168 la(w) of this title, as provided in the regulations of the Bureau
      21                         prescribed under§ 168Ij(a)(l)(C) of this title.
      22          36.     Defendant did not comply with§ 1681g(c) because no such summary of rights was

      23   ever provided to Plaintiff and the FCRA Class.

      24           37.    Based upon facts that are likely to have evidentiary support after a reasonable

      25   opportunity for investigation and discovery, Plaintiff alleges that Defendant has a policy and

      26   practice of failing to provide adequate written disclosures to applicants and employees before
      27   procuring credit reports and or consumer investigative reports or causing credit reports and or

      28   consumer investigative reports to be procured, as described above. Pursuant to that policy and
                                                         9
                                              CLASS ACTION COMPLAINT




                                                                               EXHIBIT A, PAGE 12
Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 11 of 16 Page ID #:15




       1   practice, Defendant procured credit reports and consumer investigative reports or caused such
       2   reports to be procured for Plaintiff and FRCRA Class that are in non-compliance with sections
       3   1681b(b)(2)(A), 168ld(a)(l) and 168lg(c), as described above.
       4           38.     Defendant's conduct in violation of sections 168lb(b)(2)(A), 168Id(a)(l) and
       5   168lg(c) was and is willful. Defendant acted in deliberate or reckless disregard of its obligations

       6   and the rights of applicants and employees, including Plaintiff and the FCRA Class. Defendant's
       7   willful conduct is reflected by, among other things, the following facts:
       8                   (a)    Defendant is a large entity with access to legal advice;

       9                   (b)    Defendant required a purported authorization to perform credit checks and
      10   or obtain investigative consumer reports in the process of employing the class members which,

      11   although defective, evidences Defendant's awareness of and willful failure to follow the
      12   governing laws concerning such authorizations; and
      13                   (c)    The plain language of the statute unambiguously indicates the failure to
      14   include the provisions identified above violates the FCRA's consumer credit reporting

      15   requirements.
      16           39.     As a result of Defendant's illegal procurement of credit reports and investigative
      17   consumer reports by way of their defective notice and authorization, as set forth above, P laintiff

      18   and the FCRA Class have had their statutory rights invaded in violation of the FCRA.
      19           40.     Plaintiff, on behalf of Plaintiff and the FCRA Class, seeks all available remedies,
      20   including statutory damages, punitive damages, injunctive relief, and attorneys' fees and costs to

      21   the extent they are provided for under the FCRA.
      22           41.     Pursuant to the FCRA, U.S.C. § 1681n, Plaintiff and the FCRA Class are entitled
      23   to recover statutory damages of"not less than $100 and not more than $1000 dollars" for each of
      24   Defendant's violations.
      25            42.    In the alternative to Plaintiffs allegation that these violations were willful,
      26   Plaintiff alleges that the violations were negligent and seeks the appropriate remedy, if any, under
      27   15   u.s.c. § 16810.
      28

                                               CLASS ACTION COMPLAINT




                                                                                  EX HIBIT A, PAGE 13
Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 12 of 16 Page ID #:16




       1                                     SECOND CAUSE OF ACTION

       2                                     VIOLATION OF THE ICRAA

       3                                     (Cal. Civ. Code§§ 1786, et seq.)

       4                                         (Against all Defendants)

       5           43.      Plaintiff incorporates by reference all the allegations contained in this Complaint

       6    as if fuily alleged herein.

       7            44.     Defendant is a "person" as defined by Cal. Civ. Code§ 1786.2(a).

       8            45.     Plaintiff and ICRAA Class are "consumers" within the meaning of § 1786.2(b) of

       9    the ICRAA, because they are "individuals."

                    46.     Section 1786.2(c) of the ICRAA defines "investigative consumer report" as "a

      11    consumer report in which information on a consumer's character, general reputation, personal

      12    characteristics, or mode of living is obtained through any means."

      13            47.     Thus, a background check qualifies as an investigative consumer report under the\

      14    ICRAA.

      15            48.     Section 1786.2(d) of the ICRAA defines "investigative consumer reporting

      16    agency" as "any person who, for monetary fees or dues, engages in whole or in part in the

      17    practice of collecting, assembling, evaluating, compiling, reporting, transmitting, transferring, or

      18    communicating information concerning consumers for the purposes of furnishing investigative

      19    consumer reports to third parties, but does not include any governmental agency whose records

     · 20   are maintained primarily for traffic safety, law enforcement, or licensing purposes, or any

      21    licensed insurance agent, insurance broker, or solicitor, insurer, or life insurance agent."

      22            49.     Section 1786.16(a)(2)(B)(iii)-(vi) of the ICRAA provides in relevant part as

      23    follows:

      24                    (2) If, at any time, an investigative consumer report is sought for employment
                            purposes other than suspicion of wrongdoing or misconduct by the subject of the
      25                    investigation, the person seeking the investigative consumer report may procure
                            the report, or cause the report to be made, only if all of the following apply:
      26
                                     (B) The person procuring or causing the report to be made provides a clear
      27                             and conspicuous disclosure in writing to the consumer at any time before
                                     the report is procured or caused to be made in a document that consists
      28                             solely of the disclosure, that:
                                                                11
                                                 CLASS ACTION COMPLAINT




                                                                                   EXHIBIT A, PAGE 14
Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 13 of 16 Page ID #:17




       1
       2                         (iii) The disclosure may include information on the consum er's character,
                                 general reputation, personal characteristics, and mode of living .
       3

       4                         (v) Notifies the consumer in writing of the nature and scope of the
                                 investigation requested, including a summary of the provisions of Section
       5                         1786.22.

       6                         (Emphasis added.)

       7          50.    As described above, Plaintiff alleges that in evaluating Plaintiff and the ICRAA

       8   Class for employment, Defendant procured or caused to be prepared investigative consumer

       9   reports (e.g. background checks), as defined by Cal. Civ. Code§ l 786.2(c).

                  51.    When Plaintiff and the ICRAA Class applied for employment with Defendant,

      11   Defendant did not provide Plaintiff with required Disclosures and Authorizations ("Disclosure" or

      12   "Authorization").

      13          52.    Under the ICRAA, it is unlawful to procure or cause to be prepared, an

      14   investigative consumer report for employment purposes unless the disclosure is made in a

      15   document that consists solely of the disclosure and the consumer bas authorized, in writing, the

      16   procurement of the report. Cal. Civ. Code§ 1786.16(a)(2)(B) of the ICRAA. (emphasis added).

      17          53.    Because the purported disclosures contain extraneous information, including, but

      18   not limited to, inclusion of a summary of rights addendum to the disclosure, and therefore does

      19   not constitute a document that consists solely of the disclosure, they do not meet the requirem ents

      20   under Cal. Civ. Code§ 1786.16(a)(2)(B).

      21          54.    Based upon facts that are likely to have evidentiary support after a reasonable

      22   opportunity for investigation and discovery, Plaintiff alleges that Defendant has a policy and

      23   practice of failing to provide adequate written disclosures to applicants and employees, before

      24   procuring credit reports or causing credit reports to be procured, as described above. Pursuant to

      25   that policy and practice, Defendant procured credit reports or caused credit reports to be procured
      26   for Plaintiff and the ICRAA Class without first providing a written notice in compliance w ith §
      27   1786.16(a)(2)(B) of the !CR.AA, as described above.

      28          55.    Defendant's conduct in violation of sections l 786.16(a)(2)(B), 1786.20 and
                                                          12
                                             CLASS ACTION COMPLAINT




                                                                                EXHIBIT A, PAGE 15
Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 14 of 16 Page ID #:18




       1   1786.22 of the ICRAA was and is willful and/or grossly negligent. Defendant acted in deliberate

       2   or reckless disregard of their obligations and the rights of applicants and employees, including

       3   Plaintiff and the ICRAA Class. Defendant's willful conduct is reflected by, among other things,

       4   the following facts:

       5                  (a)     Defendant is a large corporation with access to legal advice;

       6                  (b)     Defendant required a purported authorization to perform background

       7   checks in the process of employing the ICRAA Class which, although defective, evidences

       8   Defendant's awareness of and willful failure to follow the governing laws concerning such

       9   authorizations; and

      10                  (c)     The plain language of the statute unambiguously indicates the failure to

      11   include the provisions identified above in violation of the ICRAA's notice requirement.
      12            56.   As a result of Defendant's illegal procurement of investigative consumer reports
      13   by way of their inadequate notice and authorization as set forth above, Plaintiff and the ICRAA
      14   Class have had their statutory rights invaded in violation of the ICRAA.
      15            57.   Plaintiff, on behalf of Plaintiff and the ICRAA Class, seeks all available remedies
      16   pursuant to Cal. Civ. Code § 1786.50, including statutory damages and/or actual damages,
      17   punitive damages, injunctive relief, and attorneys' fees and costs.
      18            58.   In the alternative to Plaintiffs allegation that these violations were willful,
      19   Plaintiff alleges that the violations were negligent and seeks the appropriate remedy, if any, under
      20   Cal. Civ. Code § 1786.50(a), including but not limited to actual damages and attorneys' fees and

      21   costs.
      22                                         PRAYER FOR RELIEF

      23            WHEREFORE, Plaintiff, on behalf of himself, and on behalf of all others similarly
      24   situated, prays for relief and judgment against Defendant as follows:
      25            1.    An order that the action be certified as a class action;

      26            2.    An order that Plaintiffb"e appointed class counsel;
      27            3.    An order that counsel for Plaintiff be appointed class counsel;

      28            4.    Statutory penalties;
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                                                 CLASS ACTION COl\.1PLAlNT




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Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 15 of 16 Page ID #:19




       1         5.     Civil penalties;

       2         6.    Punitive damages;

       3         7.     Costs of suit;

       4         8.    Interest;

       5         9.    Reasonable attorneys' fees; and

       6         10.    Such other relief as the Court deems proper.

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       8   Dated: November 15, 2021                  Respectfully submitted,
                                                     CROSNER LEGAL, PC
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                                                              Michael Crosner, Esq.
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      11                                                      Zachary Crosner, Esq.
                                                              Blake Jones, Esq.
      12                                                      Attorneys fo r Plaintiff VIT O SANCHEZ
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                                            CLASS ACTION COMPLAINT




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Case 5:22-cv-00309-JAK-SP Document 1-1 Filed 02/18/22 Page 16 of 16 Page ID #:20




       1                                   DEMAND FOR JUR Y TRIAL

      2          Plaintiff demands a trial by jury on all claims so triable.

      3
      4    Dated: November 15, 2021                     Respectfully submitted,
                                                        CROSNER LEGAL, PC
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                                                                Michael C rosner, Esq.
      7                                                         Zachary Crosner, Esq.
                                                                Blake Jones, Esq.
       8                                                        Attorneys for Plaintiff VITO SANCHEZ
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                                              CLASS ACTION COMPLAINT




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